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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

BILLIE BARRONE

         Plaintiff,

                                                           CASE NO.: 21-cv-
v.                                                         HON:

CITY OF GRAND RAPIDS, and
MARK KONYNENBELT, in his individual and official capacities,

         Defendants.

 CHRISTOPHER TRAINOR & ASSOCIATES
 CHRISTOPHER J. TRAINOR (P42449)
 AMY J. DEROUIN (P70514)
 THOMAS P. KERR (P84864)
 Attorneys for Plaintiffs
 9750 Highland Road
 White Lake, MI 48386
 (248) 886-8650
 Shanna.suver@cjtrainor.com
 Amy.derouin@cjtrainor.com
 THERE IS NO OTHER PENDING OR RESOLVED CIVIL ACTION ARISING OUT OF
      THE TRANSACTION OR OCCURRENCE ALLEGED IN THE COMPLAINT

                            COMPLAINT AND JURY DEMAND

         NOW COMES Plaintiff, BILLIE BARRONE, by and through her attorneys,

CHRISTOPHER TRAINOR & ASSOCIATES, and for their Complaint against the above-

named Defendants states as follows:

1. Plaintiff BILLIE BARRONE is a resident of the City of Grand Rapids, County of Kent,

      State of Michigan.

2. That Defendant CITY OF GRAND RAPIDS is a municipal corporation and governmental

      subdivision which is organized and existing under the laws of the State of Michigan.



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3. That Defendant MARK KONYNENBELT is and/or was a police officer employed by the

   Grand Rapids Police Department and was acting under color of law, in his individual and

   official capacity, and within the course and scope of his employment at all times mentioned

   herein.

4. All relevant events giving rise to this lawsuit occurred in the County of Kent, State of

   Michigan.

5. Jurisdiction is vested in this Court pursuant to 28 U.S.C. § 1331 [federal question], 28

   U.S.C. § 1343 [civil rights] and 28 U.S.C. § 1367(a) [supplemental jurisdiction for state

   claims].

6. Venue is proper under 28 U.S.C. § 1391(b).

7. That this lawsuit arises out of Defendants’ violations of Plaintiff’s federal constitutional

   rights as secured by the Fourth and Fourteenth Amendments of the United States

   Constitution and consequently, Plaintiff has a viable claim for damages under 42 U.S.C. §

   1983.

8. Defendants at all times acted under the color of state laws, statutes, ordinances, regulations,

   policies, customs, and usages of the State of Michigan and its political subdivisions,

   including the City of Grand Rapids.

9. That the amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00) not

   including interest, costs, and attorney fees.

                                            FACTS

10. Plaintiff realleges and incorporates by reference each and every paragraph of this

   Complaint as though fully set forth herein.



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11. On June 29, 2020, Plaintiff resided at 1136 Dunham Street in the City of Grand Rapids,

   Michigan.

12. Plaintiff owned a dog named “Jay Jay.”

13. On June 29, 2020, Defendant MARK KONYNENBELT responded to Dunham Street

   regarding a complaint allegedly involving Plaintiff’s dog.

14. After speaking with the individual(s) who made the complaint, and who explained that

   Plaintiff’s dog did not actually bite him, Defendant Konynenbelt walked over to Plaintiff’s

   residence.

15. Defendant Konynenbelt then began to speaking with Plaintiff and other individuals on

   porch of her residence, and asked who the dog belonged to; Plaintiff explained that the dog

   belonged to her.

16. Plaintiff further explained that Jay Jay is her emotional support animal, that he was on a

   leash at the time of the alleged complaint, and that he did not bite anybody.

17. Plaintiff requested that Defendants Konynenbelt to get off her porch, but Defendant

   Konynenbelt refused.

18. That when Plaintiff told Defendant Konynenbelt she did not want to talk anymore, he

   turned to enter her residence and stated, “Let’s go get the dog then.”

19. Plaintiff immediately told him no, and in response, Defendant Konynenbelt turned back,

   pointed directly into Plaintiff’s face, laughed at her and claimed that he was just joking.

20. Plaintiff again told Defendant Konynenbelt to leave her property, again Defendant

   Konynenbelt refused.

21. Defendant Konynenbelt then told Plaintiff that he was going to write her a ticket but did

   not explain what that ticket would be.
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22. Defendant Konynenbelt then asked for Plaintiff’s name and she provided to him and even

   offered to give him her driver’s license.

23. Defendant Konynenbelt then asked for Plaintiff’s date of birth which she jokingly

   responded April 20, 2020.

24. Defendants Konynenbelt then grabbed Plaintiff’s arms, bended them behind her back, and

   told her she was going to jail.

25. Plaintiff’s roommate opened Plaintiff’s door to retrieve shoes for Plaintiff and that is when

   Plaintiff’s dog ran out of the home.

26. Plaintiff’s dog ran around in circles out in the front yard and driveway of Plaintiff’s home,

   as a young dog is predisposed to do.

27. Defendant Konynenbelt immediately stated, “I am going to go down and shoot that

   motherfucker.”

28. Plaintiff’s dog was running back to Plaintiff’s home, away from the direction of any

   individuals, and Plaintiff’s sister was very close to corralling the dog, when Defendant

   Konynenbelt shot and killed Jay Jay.

29. Defendant Konynenbelt admitted after the incident, this was not his first time shooting and

   killing someone’s dog.

30. Jay Jay was three years old at the time he was murdered by Defendant Konynenbelt, and

   had been owned by Plaintiff since the age of 4 months, and in that time was not an

   aggressive animal.

31. As a result of the unlawfully shooting of Jay Jay, Plaintiff suffered economic and

   emotional losses directly attributable to Defendants’ actions.



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                                     COUNT I
                      VIOLATION OF THE FOURTH AMENDMENT
                                  42 U.S.C. § 1983

32. Plaintiff realleges and incorporates by reference each and every paragraph of this

   Complaint as though fully set forth herein.

33. That the Fourth Amendment of the United States Constitution establishes that Plaintiff has

   the right to be free from the deprivation of life, liberty, and property without due process

   of law and to be free from unreasonable searches and seizures.

34. At all material times, Defendants acted under color of law and unreasonably when he

   violated Plaintiff’s Fourth Amendment rights.

35. Defendants’ acted unreasonably and failed in his duty when he seized and destroyed

   Plaintiff’s property, the canine, Jay Jay, without a warrant or probable cause.

36. Defendants’ acts were objectively unreasonable to kill Jay Jay.

37. The killing of Jay Jay is a property seizure and deprivation that can constitute a claim under

   the Fourth Amendment, which can be brought under 42 U.S.C. § 1983.

38. The shooting of Plaintiff’s dog was a severe intrusion given the emotional attachment

   between a dog and an owner.

39. Defendants acted under color of law and is not entitled to qualified immunity because he

   violated Plaintiff’s clearly established Fourth Amendment right to be free from

   unreasonable searches and seizures.

40. Defendants’ illegal and unconstitutional acts were the direct and proximate cause of

   Plaintiff’s deprivation of her Fourth Amendment rights.



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41. Due to Defendants’ actions, Plaintiff’s Fourth Amendment rights were violated and

   pursuant to 42 U.S.C. § 1983, Plaintiff respectfully requests this Honorable Court to award

   exemplary, compensatory, and punitive damages plus costs, interest, and attorney fees as

   set forth in 42 U.S.C. § 1988.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an

award in her favor and against Defendants in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00) exclusive of interest, costs, and attorney fees.

                                   COUNT II
                       DEFENDANT CITY OF GRAND RAPIDS’S
                          CONSTITUTIONAL VIOLATIONS

42. Plaintiff realleges and incorporates by reference each and every paragraph of this

   Complaint as though fully set forth herein.

43. Defendant City of Grand Rapids acted recklessly and/or with deliberate indifference when

   they practiced and/or permitted customs, policies, and/or practices that resulted in

   constitutional violations to Plaintiff.

44. That these customs, policies, and/or practices included, but were not limited to, the

   following:

       a. Failing to train and/or supervise its officers so as to prevent violations of citizens’

           constitutional rights;

       b. Failing to adequately train and/or supervise police officers regarding the proper use

           of force;

       c. Failing to supervise, review and/or discipline police officers whom the City of

           Grand Rapids knew or should have known were violating or were prone to violate



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           citizens’ constitutional rights, thereby permitting and/or encouraging its police

           officers to engage in illegal conduct;

       d. Failing to control and/or discipline police officers known to harass, intimidate,

           and/or abuse citizens;

       e. Having a custom, policy, and/or practice of unlawfully seizing citizens’ property.

45. Defendants’ conduct was so reckless as to demonstrate a substantial lack of concern for

   whether an injury resulted.

46. Defendants’ deliberately indifferent acts and/or omissions were the direct and proximate

   cause of Plaintiff’s injuries and damages.

47. Plaintiff has a viable claim for compensatory and punitive damages pursuant to 42 U.S.C.

   § 1983, together with costs, interest, and attorney fees pursuant to 42 U.S.C. § 1988.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an

award in her favor and against Defendants in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00) exclusive of interest, costs, and attorney fees.

                                            COUNT III
                                           CONVERSION

48. Plaintiff realleges and incorporates by reference each and every paragraph of this

   Complaint as though fully set forth herein.

49. Conversion is distinct act of dominion wrongfully exerted over another person’s property

   in denial of or inconsistent with their rights therein under Michigan law.

50. Defendants’ killing of the canine Jay Jay was a distinct act of dominion wrongfully exerted

   over Plaintiff’s dog in denial of or inconsistent with Plaintiff’s rights.

51. As a result of Defendants’ unlawful actions, Plaintiff suffered injuries and damages.


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52. Defendants’ actions were so egregious and so outrageous that Plaintiff’s damages were

   heightened and made more severe so that Plaintiff is entitled to exemplary damages.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an

award in her favor and against Defendants in an amount in excess of Seventy-Five Thousand

Dollars ($75,000.00) exclusive of interest, costs, and attorney fees.

                                            Respectfully Submitted,
                                            CHRISTOPHER TRAINOR & ASSOCIATES

                                            /s/Christopher J. Trainor
                                            CHRISTOPHER J. TRAINOR (P42449)
                                            AMY J. DEROUIN (P70514)
                                            THOMAS P. KERR (P84864)
                                            Attorneys for Plaintiff
Dated: December 6, 2021                      9750 Highland Road
CJT/tpk                                     White Lake, MI 48386
                                            (248) 886-8650




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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

BILLIE BARRONE

         Plaintiff,

                                                   CASE NO.: 21-cv-
v.                                                 HON:

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 Shanna.suver@cjtrainor.com
 Amy.derouin@cjtrainor.com
                          DEMAND FOR TRIAL BY JURY

         NOW COMES Plaintiff, BILLIE BARRONE, by and through her attorneys,

CHRISTOPHER TRAINOR & ASSOCIATES, and herby makes a demand for trial by jury in

the above-entitled cause.

                                       Respectfully Submitted,
                                       CHRISTOPHER TRAINOR & ASSOCIATES

                                       /s/Christopher J. Trainor
                                       CHRISTOPHER J. TRAINOR (P42449)
                                       AMY J. DEROUIN (P70514)
                                       THOMAS P. KERR (P84864)
                                       Attorneys for Plaintiff
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